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                Case: 1:21-cv-02509 Document #: 22-2 Filed: 08/03/21 Page 1 of 2 PageID #:153




                                   IN THE UNITED STATES DISTRICT COURT FOR
                                      THE NORTHERN DISTRICT OF ILLINOIS

             MICHAEL ANTHONY, individually, and on               Case No.: 1:21-cv-02509-EEC
             behalf of all others similarly situated,
                                                                 Honorable Edmond E. Chang
                              Plaintiff,
                              v.
             THE FEDERAL SAVINGS BANK, an                        DECLARATION OF MICHAEL
             Illinois Federal Savings Association, and           ANTHONY
             NATIONAL BANCORP HOLDINGS, INC.,
             a Delaware corporation,
                              Defendants.


                     I hereby declare the following:

                 1. I am over the age of 18, and this declaration is based on personal knowledge of the

                     matters set forth herein.

                 2. I am the Plaintiff in this action.

                 3. I have been the Plaintiff in two TCPA actions, including the present case, and one other

                     matter. I have never filed any other TCPA or telemarketing-related actions besides these

                     two cases.

                 4. Prior to Defendants’ filing of their Answer, I had never visited or heard of the website

                     lowermyowninterestrate.com.

                 5. On April 14, 2021, I was called and then transferred to Moe.

                 6. After receiving numerous telemarketing calls over the past two years asking for “Needle

                     Dee,” I did not correct the caller when she asked to speak to Needle Dee in an attempt to

                     identify the person calling me.

                 7. On April 14, 2021, I told Moe, his manager Matt O., and later, to Maggie D., a vice

                     president in charge of telemarketing, that I was on the federal Do Not Call Registry and

                     should never have been called, and that I sought to be removed from their calling lists.
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                Case: 1:21-cv-02509 Document #: 22-2 Filed: 08/03/21 Page 2 of 2 PageID #:154




                     I declare under penalty of perjury under the laws of the United States of America

              that the foregoing is true and correct. Executed on July 8, 2021.



                                                             By: ___________________________
                                                                    Michael Anthony




                                                               2
